
BENTLEY, J.
The plaintiff below recovered a judgment against the plaintiff in error here, for $600 for causing the death of Daniel H. Eagan, by negligence on the 4th day of May, 1890. The accident occurred in the company’s yards at Air Line Junction where said Eagan was employed as a switch-tender, his left leg between the ankle and knee being run over by an engine and crushed; he died from the-shock. The petition charges that he caught his foot in an unblocked switch or frog, and that an engine negligently moving, without ringing of its bell, or giving any signal, ran against and over him.
Two former trials had resulted in a disagreement of the jury.
The evidence showed that his foot was uninjured, but that his-leg above the ankle was so completely crushed that it must have been actually run over by the engine wheel. The only evidence tending to show that his foot was caught was that it was caught between the south rail of the west bound main track and the extreme end of the movable switch rail south of said main track rail, which space, the uncontradicted evidence showed, could not be blocked. The character of the injury showed that it could not. have been received from that cause,and the manifest weight of the evidence showed that the injury occurred where there were no switches or frogs, at a point where the decedent had no duties to perform, and by his thoughtlessly stepping one foot between the tracks, immediately in front of a moving engine whose bell was-then ringing.
Judgment reversed.
